                                UNITED STATES
                Case 1:05-cr-00314-AWI        DISTRICT
                                        Document 41 FiledCOURT
                                                          03/28/06 Page 1 of 1
                               EASTERN DISTRICT OF CALIFORNIA

                                        MEMORANDUM

Honorable Anthony W. Ishii
United States District Judge
Fresno, California

                                               RE:    JACK SENG HER
                                                      Docket Number: 1:05CR00314-02 AWI
                                                      CONTINUANCE OF JUDGMENT
                                                      AND SENTENCE

Your Honor:

Per agreement with both counsel, it is respectfully requested that the above-referenced case be
continued from April 10, 2006 to May 1, 2006 at 9:00am.

REASON FOR CONTINUANCE:

Due to mix-up in distribution dates, the draft copy of the presentence investigation report was not
delivered to counsel in a timely fashion. The requested continuance allows counsel sufficient time
to review and respond to the report.

                                      Respectfully Submitted,

                                       /S/ John R. Hatfield

                                       JOHN R. HATFIELD
                               Senior United States Probation Officer

Dated:        March 27, 2006
              Fresno, California
              JRH

Reviewed by:        /S/ James E. Herbert
                    JAMES E. HERBERT
                    Supervising United States Probation Officer


  W      Approved

      Disapproved

IT IS SO ORDERED.

Dated:     March 28, 2006                      /s/ Anthony W. Ishii
0m8i78                                   UNITED STATES DISTRICT JUDGE



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                                                                                           C O N T .M R G
